IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

PENNSYLVNIA NATIONAL MUTUAL )
CASUALTY INSURANCE COMPANY, )
Plaintiff, §
v. § Case No.
WILD BUILDING CONTRACTORS, INC. §
Defendant. §

COMPLAINT FOR DECLARATORY JUDGMENT

Pursuant to Rule 57 of the Federal Rules ofCivz`l Procedure, and 28 U.S.C. § 2201,
Plaintiff, Pennsylvania National Mutual Casualty Insurance Company (“Penn National”), files
this action against Det`endant, Wild Building Contractors, lnc. (“Wild”), and requests a

declaratory judgment in the following described matter:

The Parties
l. Penn National is a foreign insurance company licensed to do business in
Tennessee.
2. Wild Building Contractors, Inc. is a Tennessee corporation With its principal place

of business located at 225 W. First North Street, Suite 102, Morristown, Tennessee.
Jurisdiction and Venue
3. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332. Plaintiff
is a Pennsylvania corporation and Defendant is a Tennessee corporation

4. The amount in controversy exceeds $75,000 exclusive of interest and costs.

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5. Under 28 U.S.C. § 1391, venue in this action is appropriate in Hamblen County,
Tennessee, Where Defendant resides.
Averments of Fact Based on Cglnterclaim Asserted Against Wild
6. On November 20, 2007, Wild filed suit in the Chancery Court for Hamblen
County, Tennessee, in a case styled Wild Buz'ldimz Conrracfors, Inc. v. Jose P. Tan and wife,

Leah N. Burgos-Tan et al.. Case No. 2007-679. Thereafter, on July 8, 2008, lose P. Tan and Wife

 

Leah N. Burgos~Tan filed a counterclaim (“Counterclaim”) against Wild. A photocopy of the
Complaint filed in Case No. 2007-679 as Well as a photocopy of the Answer and Counterclaim
asserted against Wild are attached as part of Collective Exhibit A.

7. In the Counterclaim filed against Wild, at 1 6 it is alleged that the Tans entered
into a Written contract With Wild on December 29, 2005, to provide general construction services
and to otherwise improve property owned by the Tans at 5250 West Anclrew Johnson Highway,
Morristown, Tennessee, f`or a fixed price of $634,731.00. Paragraph 6 of the Counterclaim
further alleges that pursuant to an addendum entered into December 29, 2005, the contract called
for liquidated damages of $l ,OO0.00 per day in the event the project Was not completed by June
9, 2006.

8. Paragraph 7 of the Counterclaim alleges that Wild permitted construction costs to
exceed the agreed-upon price.

9. Paragraphs 8 and 9 of the Counterclaim allege Wild Was to construct a vault for
storm Water storage and control as part of the plans for the project. The Counterclaim further
alleges that Wild represented to the Tans that the City rejected the plans for the vault and

required an alternate Water control plan in the form of a large holding pond to be constructed in

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the rear oi"the building in place oi`the vault 'l'he 'i`ans further allege that the City had not
rejected the vault plans but the change in plans was the result ol`Wild’s desire to reduce
construction eosts. it is alleged that Wild used unfair and deceptive acts to induce the Tans to
execute a change order regarding the vauit.

10. 'ic Counterclaim further alleges at il l0 that much ol` Wild`s work remained
incomplete and/or uncorrectedl

ii. At il il ofthe Counterclaim the large holding pond is alleged to have deprived the
Tans oi` the use ofa portion oftheir property and to have diminished its value.

12. Paragraphs 13 and 14 ofthe Counterclaim allege that there was a material breach
oi`the contract by Wild; that liquidated damages are due in the amount ot`3160,000.00; that extra
loan interest payments had to be made by the Tans oi`$26,5 84.44; that there have been
construction cost overruns; and that defective work needs to be repaired and needs to be
completed

13. 'i`he Counterclaim alleges breach ofcontraet. negligence and the violation of
'i`ennessee Consumer Protection Act at T.C.A. §47-] S-i 01 er .s'er].

i’olicy i’rovisions

14. On january l. 2007, Penn National issued a commercial lines policy to Wild
under l’olicy No. CLQ 0628222. included as part ofthe policy was the Commereial Generai
Liability Coverage Form (Forni No. CG 00 01 001).The policy period was from .lanuary l, 2007
to .lanuary l. 2008.

15. 'i`he Commerciai General i-iabiiity Coverage Form which is a part oi` the policy

provides as follows in regard to coverage i`or bodily injury and property damage:

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SECTION I - COVERAGES
COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY

1. Insuring Agreement.

a. We will pay those sums that the insured becomes legally
obligated to pay as damages because of “bodily injury” or
“property damage” to which this insurance applies We will
have the right and duty to defend the insured against any
“suit” seeking those damages i-iowever, we will have no duty
to defend the insured against any “suit” seeking damages for
“bodily injury” or “property damage” to which this insurance
does not apply.

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b. The insurance applies to “bodily injury” and “property damage” only
if:

(1) The “bodily injury” or “property damage” is caused by an
“occurrence” that takes place in the “coverage territory”;

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15. The policy further provides under SECTION I - COVERAGES, numerous
exclusions the most relevant of which are set forth follows:
2. Exelusions
This insurance does not apply to:

a. Expected Or Intended Injury

“Bodily injury” or “property damage” expected or intended from the
standpoint of the insured.

j. Damage To Property

“Property damage” to:

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(5) That particular part of real property on which you or any
contractors or subcontractors working directly or indirectly on your
behalf are performing operations, if the “property damage” arises
out of those operations; or

(6) That particular part of any property that must be restored, repaired
or replaced because “your work” was incorrectly performed on it.

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Paragraph (6) of this exclusion does not apply to “property damage”
included in the“products~completed operations hazard”.

v’= 1': 1‘:
l. Damage To Your Work

“Property damage” to “your work” arising out of it or any part of it
and included in the “products-completed operations hazard.”

This exclusion does not apply if the damaged work or the work out of
which the damage arises was performed on your behalf by a
subcontractor.

m. Damage to Impaired Property or Property Not Physically Injured

“Property damage” to “impaired property” or property that has not been
physically injured, arising out of:

(1) A defect, deficiency, inadequacy or dangerous condition in “your product”
or “your work”; or

(2) A delay or failure by you or anyone acting on your behalf to perform a
contract or agreement in accordance with its terms.

16. Under Section V - I)ef"initions of the policy, terms relevant to the issue at hand are

defined as follows:

8. “impaired Property” means tangible property, other than “your product” or
“your work”, that cannot be used or is less useful because:

a. lt incorporates “your product” or “your work” that is known or thought to
be defective, deficient, inadequate or dangerous; or

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b. You have failed to fulfill the terms of a contract or agreement',
if such property can be restored to use by:

a. The repair, replacement, adjustment or removal of “your product”
or “your work”; or

b. Your fulfilling the terms of the contract or agreement
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13. “Occurrence” means an accident, including continuous or repeated

exposure to substantially the same general harmful conditions
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16. “Products-completed operations hazard”:

a. includes all “bodily injury” and “property damage” occurring away
from premises you own or rent and arising out of “your product” or “your
work” except:

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(2) Work that has not yet been completed or abandoned. However,

“your work” will be deemed completed at the earliest of the following times:

(a) When all of the work called for in your contract has been
completed

(b) When all of the work to be done at the job site has been completed
if your contract calls for work at more than one job site.

(c) When that part of the work done at a job site has been put to its
intended use by any person or organization other than another contractor
or subcontractor working on the same project

Work that may need service, maintenance, correction, repair or replacement,
but which is otherwise complete, will be treated as completed

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17. “Property damage” means:

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a. Physical injury to tangible property, including all resulting loss of
use of that property. All such loss of use shall be deemed to occur at the time of
the physical injury that caused it; or

b. Loss of use of tangible property that is not physically injured All
such loss of use shall be deemed to occur at the time of the “oecurrence” that
caused it.

l7. Penn National avers that there is no “occurrence” alleged in the Counterclaim as
that term is defined by the policy.
18. in the alternative, should this Court determine that an occurrence exists, Penn
National avers that certain exclusions are applicable to preclude any duty to defend or coverage
including, without iimitation, the Damage To Property exclusion, the Damage To Your

Work exclusion, and the Damage to Impaired Property or Property Not Physically Injured

exclusion
PREMISES CONSIDERED, Penn National requests:
l. That this Court judicially declare the insurance policy in question does not cover
the losses alleged in the Counterclaim referred to above and that Penn National has no duty to
defend or to indemnify Wild in connection with the averments of the Counterclasim,

2. That this cause be advanced upon the calendar of this Court pursuant to Rule 57

of the Federai Rules ofCivil Procea'nre.

3. For such other relief as may be appropriate

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Respectfully submitted,

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